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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                No. 4:13CR00068-06 JLH

RENALDRE JACKSON                                                                 DEFENDANT

                                           ORDER

       Pending before the Court is defendant Renaldre Jackson’s unopposed motion for continuance

of the sentencing hearing currently set for Tuesday, April 15, 2014. The motion is GRANTED.

Document #277. The sentencing hearing will be reset by separate notice.

       IT IS SO ORDERED this 8th day of April, 2014.



                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
